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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS


BARBARA ACETO, COLLEEN ALLISON,
AMY CROSS, and DUSTIN METROKA,             Case No. _____________________
individually and on behalf of all others
similarly situated,                        CLASS ACTION COMPLAINT

        Plaintiffs,
                                           JURY TRIAL DEMANDED
   v.

THE KRAFT HEINZ CO.; LAMB
WESTON HOLDINGS, INC.; LAMB
WESTON, INC.; LAMB WESTON BSW,
LLC; LAMB WESTON/MIDWEST, INC.;
LAMB WESTON SALES, INC.; MCCAIN
FOODS LIMITED; MCCAIN FOODS USA,
INC.; J.R. SIMPLOT CO.; CAVENDISH
FARMS LTD; and CAVENDISH FARMS,
INC.,

        Defendants.
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        Plaintiffs BARBARA ACETO, AMY CROSS, COLLEEN ALLISON, and DUSTIN

METROKA (“Plaintiffs”), on behalf of themselves and in a representative capacity on behalf of

a Class of indirect purchasers of Frozen Potato Products for end use and not for resale as frozen

products (“End Payer Class”), under Section 1 of the Antitrust Act of 1890, 15 U.S.C. § 1, and

Sections 4 and 16 of the Clayton Antitrust Act, 15 U.S.C. §§ 15 & 26, as well as State antitrust

and trade regulation statutes, and common law unjust enrichment, make this Complaint for relief

against Defendants THE KRAFT HEINZ CO.; LAMB WESTON HOLDINGS, INC.; LAMB

WESTON, INC.; LAMB WESTON BSW, LLC; LAMB WESTON/MIDWEST, INC.; LAMB

WESTON SALES, INC.; MCCAIN FOODS LIMITED; MCCAIN FOODS USA, INC.; J.R.

SIMPLOT CO.; CAVENDISH FARMS LTD; and CAVENDISH FARMS, INC.

(“Defendants”), for their conspiracy to fix prices of for frozen french fries, hash browns, tater

tots, and other frozen potato products (“Frozen Potato Products”) in the United States from at

least as early as January 1, 2021, through the date by which the anticompetitive effects of their

violations of law shall have ceased, but in any case no earlier than the present (the “Class

Period”). Based upon personal knowledge, information and belief, and investigation of counsel,

Plaintiffs allege:

I.      NATURE OF THE ACTION

        1.      Plaintiffs and members of the End Payer Class whom they seek to represent

overpaid for Frozen Potato Products by reason of Defendants’ price fixing conspiracy.

Defendants are the four dominant processors of Frozen Potato Products. Together, Defendants

control more than 97% of the $68 billion per year-Frozen Potato Products market.

        2.      Defendants abused their collective market power by conspiring to and actually

overcharging the End Payer Class for their Frozen Potato Products, unjustly enriching

themselves at the expense of members of the End Payer Class. Being by definition last in line in
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the chain of distribution of Frozen Potato Products, members of the End Payer Class have

suffered the full brunt of the wrongdoing and have paid these overcharges that would not have

been passed on to them but for Defendants’ conspiracy and overt acts in furtherance.

       3.        By at least the start of 2021, Defendants conspired to fix the prices of their Frozen

Potato Products above competitive levels. Defendants implemented lockstep price increases that

allowed them to realize unprecedented margins. This conspiracy continues, as have price

increases of more than 50%, despite the fact that the costs of raw potatoes have declined

significantly.

       4.        In 2021 and again in the spring of 2022, while facing increased input costs,

Defendants agreed to change their pricing methods to collectively impose “strong arm” price hikes

with no worry that their customers could defect to competitors. Frozen Potato Product prices

climbed 47% from July 2022 to July 2024. In contrast to their own sales prices, Defendants’

input costs peaked in 2022 and fell steadily after that.

       5.        Following Defendants’ series of matching price increases, in April 2022, one

restaurant owner remarked that it was “[a]mazing how all of the major suppliers for french fries

and the like are all raising their prices at the same time and by the same amount.”

       6.        Meanwhile, Defendants’ conspiracy resulted in unprecedented margins. In 2023,

the former VP of International at Lamb Weston acknowledged that Lamb Weston, J.R. Simplot,

and McCain “have never ever seen margins this high in the history of the potato industry.” The

reason for this success was, as he explained, that Defendants “absolutely” have “no incentive to

fight that hard for each other’s share;” instead, they are all “behaving themselves” in order to

maintain high margins.

       7.        And because of their agreement, Defendants had complete confidence in their



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ability to sustain their prices. A former Senior Director for McCain Foods commented in 2024 that

McCain was unwilling to compete with Lamb Weston on the price of battered fries. He said that

he originally thought McCain should compete and pursue additional market share, but “the higher

ups in the room” advised not to do it.

       8.      Likewise, J.R. Simplot’s Director of Sales noted that customers threatened to

switch to one of Simplot’s competitors after Simplot increased its prices, “but we knew we weren’t

worried about it.” In short, Defendants had confidence in their commitment to each other; they

knew their co-conspirators would not undercut them on price.

       9.      And to conceal their conspiracy, upon information and belief, at least Lamb Weston

told its managers to communicate about competitor pricing and business intelligence using texting

instead of emails to avoid creating emails that could be discovered in the event of an antitrust

investigation. Although Lamb Weston managers obtained their competitors’ price announcements,

they were forbidden to email such announcements to C-suite executives so the latter could more

plausibly deny receiving information about the announcements.

       10.     Defendants were able to successfully implement lockstep price increases and

collusively increase prices because the industry is structurally susceptible to collusion. The

Frozen Potato Products Market features highly concentrated sellers, high entry barriers,

fragmented buyers, repetitive purchases, inelastic demand, and opportunities to collude

through common co-packing arrangements, trade association events, and mechanisms to

exchange market share and likely other information enabling Defendants to implement and

monitor their conspiracy.

       11.     But for their conspiracy and unlawful acts in furtherance, Plaintiffs and members

of the End Payer Class would have paid less for Frozen Potato Products than they did during the



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Class Period.

       12.      Plaintiffs bring this action for redress of the injury and damages they and

members of the End Payer Class have suffered and continue to suffer by reason of Defendants’

past and continuing violations of law, including for damages, injunctive relief, and disgorgement

of Defendants’ ill-gotten gains into a common fund from which they and members of the End

Payer Class may obtain restitution.

II.    PARTIES

       A.       Plaintiffs

       13.      Plaintiff Barbara Aceto is a resident of Middlesex County, Massachusetts.

       14.      Plaintiff Colleen Allison is a resident of Washington County, New York.

       15.      Plaintiff Amy Cross is a resident of Cumberland County, Maryland.

       16.      Plaintiff Dustin Metroka is a resident of Pinellas County, Florida.

       17.      During the Class Period Plaintiffs each purchased Frozen Potato Products,

including at least Ore-Ida brand Frozen Potato Products, indirectly from Defendants Kraft Heinz

and Simplot in New York and Florida, respectively, for end use and not for resale.

       18.      During the Class Period, Plaintiffs each were injured in their business or property

as a direct, proximate, and material result of Defendants’ violations of law.

       19.      Plaintiffs are threatened with future injury to their business or property by reason

of Defendants’ continuing violations of law, absent Court intervention.

       B.       Defendants

                1.     Lamb Weston Defendants

       20.      Defendant Lamb Weston Holdings, Inc. is a Delaware corporation with its

headquarters in Eagle, Idaho. Lamb Weston Holdings, Inc. is a leading producer, distributor, and

marketer of value-added Frozen Potato Products. Lamb Weston Holdings, Inc. stock is traded as

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“LW” on the New York Stock Exchange. Lamb Weston Holdings, Inc. began as part of Conagra

Brands, Inc., which spun off Lamb Weston Holdings, Inc. to Conagra shareholders in 2016.

           21.   Lamb Weston Holdings, Inc. owns and operates several United States

subsidiaries, including Lamb Weston, Inc. (a Delaware corporation), Lamb Weston BSW, LLC

(a Delaware LLC), Lamb Weston/Midwest, Inc. (a Washington corporation), and Lamb Weston

Sales, Inc. (a Delaware corporation). These subsidiaries are included in the consolidated

financial statements of Lamb Weston Holdings, Inc., indicating Lamb Weston Holdings, Inc.

wholly owns and controls them and operates them as a unitary enterprise. On information and

belief, Lamb Weston Holdings, Inc., conducts its Frozen Potato Products business in the United

States through these subsidiaries, including manufacturing, pricing, and selling Frozen Potato

Products in the United States. Lamb Weston’s publicity for product purchasers and investments

refers to “Lamb Weston” or “Lamb Weston Holdings, Inc.” Accordingly, hereinafter this

complaint refers to Lamb Weston Holdings, Inc., Lamb Weston, Inc., Lamb Weston BSW, LLC,

Lamb Weston/Midwest, Inc., and Lamb Weston Sales, Inc. collectively as “Lamb Weston.”

           22.   Lamb Weston sells its Frozen Potato Products in North America to quick-service

and full-service restaurants, food service distributors, non-commercial channels, and retailers. Its

products include Frozen Potato Products, commercial ingredients, and appetizers sold under the

Lamb Weston brand name, as well as under other brands owned or licensed by Lamb Weston,

and private label products. Its North American segment sales for fiscal year 2023 was $4.2

billion.

           23.   Lamb Weston operates twenty-seven production facilities for its products and

sources its products pursuant to “co-packing” agreements, “a common industry practice in which

manufacturing is outsourced to other companies.”



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               2.     McCain

       24.     Defendant McCain Foods Limited is a corporation organized under the laws of

New Brunswick, Canada, with its corporate headquarters in Toronto, Canada. McCain Foods

Limited operates forty-seven sites on six continents. McCain Foods Limited states that it owns

United States patents. McCain Foods Limited owns over 50 United States trademarks.

       25.     McCain Foods Limited is a privately owned company, with global revenues in

excess of $14 billion Canadian dollars, and a dominant producer of Frozen Potato Products. It is

one of the world’s largest manufacturers of french fry and potato products, and it boasts that one

in four “fries in the world is a McCain Foods fry.”

       26.     McCain Foods Limited operates its United States operations through its

subsidiary, McCain Foods USA, Inc.

       27.     McCain Foods USA, Inc., is a subsidiary of McCain Foods Limited, incorporated

in Maine, and has its corporate headquarters and principal place of business at One Tower Lane,

11th Floor, Oakbrook Terrace, Illinois, within the Northern District of Illinois. According to the

Illinois Secretary of State, McCain Foods USA, Inc.’s registered agent in Illinois is CT

Corporation System’s office in Chicago, Illinois. McCain Foods USA, Inc. provides frozen

potato and other snack foods “primarily for foodservice customers, retail grocers and private

label brands in restaurants and supermarket freezers nationwide” in the United States.

       28.     McCain Foods Limited and McCain Foods USA, Inc., are collectively referred to

as “McCain.”

               3.     J.R. Simplot

       29.     Defendant J.R. Simplot Company is a Nevada Corporation with its headquarters

in Boise, Idaho. J.R Simplot, a privately owned company with over 13,000 employees

worldwide, claims to be one of the world’s largest producers of french fries. J.R. Simplot

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Company sells Frozen Potato Products in this District, throughout the State of Illinois, and

elsewhere in the United States.

        30.     J.R. Simplot is the exclusive manufacturer and supplier of Ore-Ida brand french

fries and other Frozen Potato Products under an arrangement with The Kraft Heinz Co. Ore-Ida

is the leading brand of at-home Frozen Potato Products.

        31.     J.R. Simplot has admitted in other litigation about Frozen Potato Product patents

that it sells products in this District, and that this District and the State of Illinois may exercise

personal jurisdiction and venue over J. R. Simplot. Its 2023 revenue was $9.8 billion. J.R.

Simplot Company and The Kraft Heinz Co. are referred to hereinafter collectively as “J.R.

Simplot.”

        32.     Defendant The Kraft Heinz Co. (“Kraft Heinz”) is a Delaware corporation

headquartered in Pittsburg, Pennsylvania. It was formed in 2015 through the merger of Kraft

Foods Group, Inc. and H.J. Heinz Holding Corporation. It is the owner of Ore-Ida intellectual

property and during the Class Period, in or around February 2022, Kraft Heinz entered into an

arrangement with J.R. Simplot for its Ore-Ida brand Frozen Potato Products to be exclusively

produced and sold by J.R. Simplot.

                4.      Cavendish

        33.     Defendant Cavendish Farms Ltd. is a part of the J.D. Irving Group of Companies,

with its headquarters in Dieppe, New Brunswick, Canada. Cavendish Farms is North America’s

fourth largest processor of Frozen Potato Products. Cavendish Farms Ltd. operates four potato

processing plants, including one in Jamestown, North Dakota. Cavendish Farms sells Frozen

Potato Products in the United States.

        34.     Cavendish Farms, Inc., is a Delaware corporation with its principal place of

business in North Dakota. “Cavendish Farms, Inc. is the United States-based subsidiary of

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Cavendish Farms Ltd.”

          35.   Cavendish Farms Ltd. and Cavendish Farms, Inc., are collectively referred to

herein as “Cavendish Farms.”

                5.     Agents and Co-conspirators

          36.   Various other persons, firms and corporations not named as defendants have

participated as co-conspirators with Defendants and have performed acts and made statements in

furtherance of the conspiracy. Defendants are jointly and severally liable for the acts of their co-

conspirators whether or not named as defendants in this Complaint.

          37.   Whenever reference is made to any act of a corporation, the allegation means that

the corporation engaged in the act by or through its officers, directors, agents, employees, or

representatives while they were actively engaged in the management, direction, control, or

transaction of the corporation’s business or affairs.

          38.   Defendants are also liable for acts done in furtherance of the alleged conspiracy

by companies they acquired through mergers and acquisitions.

III.      JURISDICTION, VENUE, AND COMMERCE

          39.   This action arises under Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1,

Sections 4 & 16 of the Clayton Antitrust Act, 15 U.S.C. §§ 15 & 26, and the State laws cited

herein.

          40.   This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1332(d), and

1337.

          41.   The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiffs’

state law claims.

          42.   Venue is proper in this District under 15 U.S.C. §§ 15(a) & 22, and 28 U.S.C. §

1391(b), (c), and (d) because, during the Class Period, Defendants resided, transacted business,

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were found, and a substantial portion of the alleged activity affected interstate trade and

commerce in this District.

        43.     During the Class Period, Defendants’ conduct was within the flow of, was

intended to, and did, in fact, have a substantial effect on the interstate commerce of the United

States and its territories.

        44.     During the Class Period, Defendants used the instrumentalities of interstate

commerce, including interstate wires, wireless spectrum, and the United States Mail, to

effectuate their illegal scheme.

        45.     Defendants’ conduct also had a substantial effect on the intrastate commerce of

each of the United States and the District of Columbia.

        46.     This Court has personal jurisdiction over each Defendant because each Defendant

transacted business, maintained substantial contacts, and is located and/or committed unlawful

conduct in this District. Defendants’ unlawful scheme was directed at, and had the intended

effect of, causing injury to persons residing in, located in, or doing business in this District.

IV.     ALLEGATIONS OF FACT SUPPORTING THE CLAIM FOR RELIEF

        A.      Frozen Potato Products

        47.     Frozen Potato Products, including french fries, are ubiquitous food items in the

United States. A study for the National Potato Council estimated that the entire potato sector

contributed $100.9 billion to the economy in 2021 and added $53.5 billion to the United States

Gross Domestic Product. Of that $100.9 billion contribution, the Potato Council estimated $49.1

billion came from processing, wholesaling, and retail efforts. More than two thirds of the

potatoes sold in the U.S. in 2018 were used for processing. “Food service is an especially

important outlet for potatoes primarily in the form of fries.”

        48.     About 39% of United States potatoes are frozen and become part of the Frozen

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Potato Products market. Another 26% of potatoes are sold fresh. Another 22% become potato

chips. Another 7% are dehydrated, and 4% are sold refrigerated. The United States is the world’s

fifth largest potato producer.

       49.     Frozen french fries provide the largest part of the Frozen Potato Products market.

One source found 579,303 restaurants in the United States feature french fries on their menu.

Along with french fries, the Frozen Potato Products market includes hash browns, tater tots, and

potatoes that are frozen and shaped in other formats.

       50.     Most of the potatoes produced in the United States are used for Frozen Potato

Products. For example, for 2023, the United States produced slightly over 17 billion pounds of

potatoes for freezing. By comparison, the United States imported 6.39 billion pounds of potatoes

for freezing that year.

       51.     Imported Frozen Potato Products predominantly come to the United States from

Canada. For example, for the 2019 to 2020 market year, the United States imported

approximately $750 million worth of frozen french fries from Canada. Of Canada’s Frozen

Potato Products exports, it sends 91 percent of those exports, measured by Canadian dollars, to

the United States. McCain Foods and Cavendish Farms are responsible for a significant portion

of Frozen Potato Products exported to the United States each year.

       52.     Frozen Potato Products provide business advantages to restaurants that use them.

For a restaurant, making good fries from scratch requires both increased horizontal workspace

and increased labor to cut up the potatoes.

       53.     The foodservice sector is the largest buying segment of Frozen Potato Products.

This sector includes restaurants, hotels, schools, hospitals, among other entities, which often

purchase indirectly through distributors.



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       54.     For example, Lamb Weston sells its Frozen Potato Products “to quick service and

full-service restaurants and chains, foodservice distributors, non-commercial channels, and

retailers.” It sells to them through “a network of internal sales personnel and independent

brokers, agents, and distributors to chain restaurants, wholesale, grocery, mass merchants, club

retailers, specialty retailers, and foodservice distributors and institutions, independent

restaurants, regional chain restaurants, and convenience stores.” Similarly, McCain provides its

products “to retailers, quick service restaurants, supermarket freezers and foodservice outlets

worldwide.”

       55.     Frozen Potato Products are sold to consumers in supermarkets and other retail

outlets. Typically, about one-tenth of all frozen french fries are sold through these channels to

consumers.

       B.      Defendants Conspired to Fix Prices of Frozen Potato Products

       56.     Defendants acted in concert to fix, raise, maintain, and stabilize the price of

Frozen Potato Products they manufactured, distributed, sold, or imported into the United States.

This unlawful conspiracy in restraint of trade began at least as early as January 1, 2021, and

continues into the present.

       57.     Defendants’ Frozen Potato Products prices tell a remarkable story because they

would not have occurred in a competitive market that was free from Defendants’ concerted

action. Since Defendants collectively control 97% to 98% of the Frozen Potato Products market,

changes in the industry price reflect Defendants’ collective price changes to an unusual degree.

       58.     Defendants’ Frozen Potato Product prices increased in 2021 and then skyrocketed

in 2022, and they continued to remain high through at least the end of July 2024, resulting in

unparalleled margins for Defendants.

       59.     These increased Frozen Potato Product prices cannot be adequately explained by

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cost inputs. From July 2022 to July 2024, Frozen Potato Product prices increased 47%. During

that same two-year period, Defendants’ input cost of raw potatoes declined. Defendants’ input

costs peaked around the third quarter of 2022, and declined substantially after that, but

Defendants’ Frozen Potato Product prices continued to rise. Defendants’ prices remained near

their peak from October 2023 through at least July 2024 despite a decline in input costs of about

33%. This comparison indicates that Defendants had for some time collusively raised and fixed

their product prices including after their input costs declined.

       60.     In May 2023, while Defendants’ input costs were decreasing, two stock analysts

predicted that Defendant Lamb Weston’s “stepped-up margin expansion” would not “be durable

longer term.” Contrary to that prediction, Defendants’ prices continued to climb and remained

uncompetitively high after their input costs had settled at lower levels.

       61.     The Frozen Potato Products price hikes in 2021 and 2022 were no accident.

Rather, the Defendants imposed matching, simultaneous or near-simultaneous price increases on

their customers.

       62.     The four Defendants—controlling 97% to 98% of the Frozen Potato Products

market—acting in concert have market power and the ability to control price. Therefore, if

Defendants collectively raise their prices, that increase moves the market price.

       63.     By raising and maintaining Frozen Potato Products prices, each Defendant, acting

individually, risks one of its competitors undercutting its prices to gain market share. In short,

competition would not allow a single Frozen Potato Products manufacturer to elevate its prices to

extreme levels beyond its input costs without one of its competitors undercutting that price and

taking market share. That dynamic explains why analysts predicted that Lamb Weston’s

“stepped- up margin expansion” would not be “durable longer term.” Defendants’ price increase



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actions described herein are therefore inconsistent with their individual interests. By colluding,

Defendants change their incentives and the incentives of their co-conspirators. Defendants

followed their collective interests rather than their individual interests through their collective

price increases.

       64.     Prices for Defendants’ Frozen Potato Products increased in lockstep during the

Class Period. Defendants’ price adjustments initially focused on maintaining that company’s

profit margins, but that all changed. In February 2021, McCain announced a price increase that

was soon followed by J.R. Simplot and Cavendish Farms. Lamb Weston did not formally

announce a price increase at that time but was understood to increase prices more quietly in that

same time period.

       65.     J.R. Simplot’s Sales Director acknowledged that Simplot previously considered

pricing increases annually, but then started to increase prices more often. In 2021, Defendants

began a series of “tit for tat” price increases with each other multiple times per year.

       66.     In discussing a forthcoming Lamb Weston price increase in September 2021,

Lamb Weston’s former Vice-President knowingly predicted that competitor McCain would be

pleased with the increase and follow suit: “it will probably be exactly the price increase that

McCain wanted, which was $0.04 on A grade and $0.02 they will announce a price increase.”

       67.     Early the next year, on February 11, 2022, Lamb Weston announced that it would

increase prices to take effect in April, increasing prices on “battered and coated” products by

twelve cents per pound and adding ten cents per pound on non-battered products.

       68.     Just four days later, on February 15, 2022, J.R. Simplot announced the same

increase on the same two categories of products, and McCain announced a twelve cent per pound

increase on all its frozen potato products.



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       69.     Then, one day later, on February 16, 2022, Cavendish Farms announced a price

increase of twelve cents per pound for battered and coated frozen potatoes and “formed items,”

as well as non-battered frozen potatoes.

       70.     On April 19, 2022, the owner of Ivey and Coney, a Washington, D.C. restaurant,

posted on X (formerly Twitter) that Defendants had informed it of uniform price increases, all

effective on April 4, 2022. The owner’s post said, “Amazing how all of the major suppliers for

french fries and the like are all raising their prices at the same time and by the same amount.”

The post added, “Totally not collusion or anything, right?”

       71.     Additionally, the Director of Sales at J.R. Simplot acknowledged Defendants’

lockstep price increases, noting that in 2022, “that’s what we did . . . . like Lamb, they did the

$0.10 and $0.12 like we did in April of 2022.” He also noted that J.R. Simplot took a price

increase in May 2022, and Lamb took a similar price increase of $0.08 and $0.10 in July 2022.

       72.     In 2022, in furtherance of the conspiracy, McCain Foods figuratively “tore up” its

contracts and increased all prices to a 30% margin, regardless of their contracts’ remaining

durations—an enormous margin a company would not be able to capture if it had to compete on

price. The price increase was a ‘strong arm’ approach, enforced because customers had no

bargaining leverage and therefore could not contest the price increases. This change was

implemented by McCain Foods’ upper-level management.

       73.     McCain and Lamb Weston could not enforce such substantial price increases

without the pricing solidarity of J.R. Simplot and Cavendish Farms. Absent solidarity between

all competitors, an individual company’s price increase would have been undercut by the other

competitors and used to win sales and gain market share by maintaining lower prices.

Defendants’ price increases continued to conform with each other’s, and Defendants have



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collectively raised and maintained prices at supra-competitive levels, including through price

increases in 2023, to the detriment of Plaintiffs and members of the Class. In 2023, the Director

of Sales Solutions for J.R. Simplot acknowledged that Lamb Weston took 35% in price increases

and explained that J.R. Simplot, McCain, and Cavendish were also continuing to “push pricing”

and “not going after new business.”

       74.     Indeed, Defendants have experienced margins they could not have enjoyed but for

their conspiracy. In 2023, the then-former VP of International at Lamb Weston acknowledged

that Lamb Weston, J.R. Simplot, and McCain “have never ever seen margins this high in the

history of the potato industry.” He explained that Defendants “absolutely” have “no incentive to

fight that hard for each other’s share”; instead, they are all “behaving themselves” in order to

maintain high margins. He remarked that “I think we’ve done a pretty good job at taking margins

with these price increases.”

       75.     A former Senior Director at McCain Foods’ 2024 statement reflected similar price

coordination. He noted McCain Foods was unwilling to compete with Lamb Weston on the price

of battered fries. He said that he originally thought McCain should compete and pursue more

market share for that product, but “the higher ups in the room” said not to risk it. Similarly, J.R.

Simplot’s Director of Sales noted that a couple of customers threatened to switch to one of

Simplot’s competitors after Simplot increased its prices, “but we knew we weren’t worried about

it.” In short, Defendants had confidence in their solidarity; they knew their co-conspirators

would not undercut them on price.

       76.     Defendants’ collusion reaped significant rewards as they implemented

coordinated price hikes and continued to increase prices in the United States, as they intended,

while their input costs plummeted. Indeed, by Lamb Weston’s Former VP of International’s own



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account, they had “never ever seen margins this high.”

          C.    The Structure and Characteristics of the Frozen Potato Product Industry are
                Conducive to Conspiracy

                1.     Consolidation Made the Industry Highly Concentrated

          77.   A concentrated market facilitates collusion in at least three ways. First, it gives a

cartel of sellers more collective bargaining power by reducing buyers’ alternatives. Second,

communicating and agreeing upon collective action among fewer sellers requires less time and

attention. Third, monitoring and policing the agreement among a smaller group of sellers is

easier.

          78.   The market for Frozen Potato Products has grown highly concentrated. Two

decades ago, there were approximately sixteen different companies with meaningful presence in

the market; but those players have increasingly merged or otherwise consolidated their market

share. That consolidation, as Defendants have admitted publicly to investors and otherwise, has

resulted in rising prices and rising margins.

          79.   The four Defendants control 97% to 98% of the Frozen Potato Products market:

Lamb Weston Holdings controls 40%; McCain Foods Ltd. controls 30%; J.R. Simplot Co.

controls 20%; and Cavendish Farms Corp. controls 7% to 8%.

          80.   All other market participants combined account for only 2% to 3% of the Frozen

Potato Products market.

          81.   Markets as consolidated as the Frozen Potato Products market present significant

concerns for anticompetitive effects on purchasers.

                2.     Barriers to Market Entry Are High

          82.   High barriers to entering a market facilitate collusion in that market. Price increases

and supracompetitive profits can attract other potential competitors, but high entry barriers make


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their market entry slower, riskier, and less likely to succeed, deterring competition. The Frozen

Potato Products market’s high entry barriers facilitate Defendants’ collusion.

       83.     One barrier here is that competitively entering the Frozen Potato Products market

would require extensive capital. For example, Cavendish Farms planned to spend about $293

million on a new frozen potato processing plant it announced in 2017 and spent $430 million

building a new plant in Alberta, Canada, in 2019. Such necessary start-up costs and investments

to participate in the Frozen Potato Products market deter new market entry.

       84.     Another barrier is that entering the Frozen Potato Products market takes significant

time, meaning that a new market entrant could not start operating and profiting immediately. For

example, J.R. Simplot expected completion of one new plant in Washington to take two years.

       85.     Another barrier is that Defendants’ extensive relationships with potato growers in

the low-cost basin of the Pacific Northwest would make it difficult to obtain the raw potatoes

necessary to compete in the Frozen Potato Products market. When asked about competitors

entering the Washington-Oregon growing area, a former Lamb Weston executive remarked there

were “only so many potatoes to go around in the basin area.” The executive stated that new

competitors had tried to enter the market in the past but did not survive. A stock analyst similarly

noted the Idaho-Washington basin region’s “minimal unused land and water resources,” Lamb

Weston’s advantage in that area, and all four Defendants’ long-standing contractual relationships

with the potato farmers in that region, which add barriers to entering the market.

               3.      Food Operators on the Buy-Side of the Market Are Fragmented.

       86.     Having numerous buyers for a product supports seller collusion by giving the

sellers more collective bargaining power and making it harder for buyers to monitor sellers’

conduct. Several segments of buyers for Frozen Potato Products are fragmented in this way.

       87.     About half of the $1.5 trillion United States food sector operates in the retail

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segment, where grocery and convenience stores provide food to consume at home. The other half

of the food sector operates in the growing food service segment, selling food to consume away

from home in restaurants, workplaces, schools, and other locations.

       88.     As of 2019, the United States had 1,249,737 food operators. Of these operators,

retail food service firms like supermarkets and convenience stores accounted for 264,125 units.

Restaurants provided 648,462 food operator locations. On-site food service operations, such as

schools, colleges, hospitals, nursing homes, workplace cafeterias, caterers, lodging and recreation,

and military sites, accounted for another 337,150 sites.

       89.     Before, 2020, the National Restaurant Association estimated the United States had

over one million restaurants. As of 2023, after the main Covid-19 era, there were an estimated

749,000 restaurants.

       90.     Nine out of ten restaurants have fewer than fifty employees. Seven in ten

restaurants are single unit operations.

       91.     Producers like Defendants also sell their production to food service operators

through wholesalers and other distributors. Such distributors break down orders from producers,

provide warehousing, logistics and transportation, and sell usable quantities of the products to

operators. The distributor segment has a competitive market structure and has been described as

“highly fragmented.” One report found 17,100 United States food distribution locations.

               4.      Demand for Frozen Potato Products Is Inelastic.

       92.     “Elasticity” describes the sensitivity of supply and demand to changes in price or

quantity such that demand is “inelastic” if an increase in the price of a product results in only a

small decline in the quantity sold of that product, if any. With inelastic demand, those customers

have nowhere to turn for alternative, cheaper products of similar quality, so they continue to

purchase despite a price increase.

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       93.     For a cartel to profit from raising prices above competitive levels, demand must be

relatively inelastic at competitive prices. Otherwise, increased prices would cause unduly declining

sales, revenues, and profits, as customers purchase substitute products or decline to buy altogether.

Inelastic demand is a market characteristic that facilitates collusion, allowing producers to raise

their prices without triggering customer substitution and lost sales revenue.

       94.     Demand for Frozen Potato Products is highly inelastic. When the price of potatoes

increases, the quantity demanded decreases by only a smaller percentage. Frozen french fries, in

particular, are an important offering for food services and restaurants, so processors can raise

prices without hurting demand. Lamb Weston CEO Thomas P. Werner said in April 2022 that they

“haven’t seen” the elasticity for french fries. This comment indicates that at least Lamb Weston’s

price increases did not reduce its sales. In other words, Frozen Potato Products’ demand is highly

inelastic. Because the price for Frozen Potato Products is highly inelastic, Defendants were able

to and did collectively raise prices to supra-competitive levels without losing revenue.

               5.      Frozen Potato Products Are Commodity Products.

       95.     Defendants make similar Frozen Potato Products, and Frozen Potato Products do

not differ significantly in quality, appearance, or use. As a result, Frozen Potato Products are

functionally interchangeable and considered a commodity product. For example, the Federal

Reserve analyzes Frozen Potato Products as a “Producer Price Index by Commodity.” In fact,

executives from both McCain Foods and Lamb Weston referred to the market or industry as a

“mature” market, one characteristic of which is homogeneous product offerings.

       96.     When products are interchangeable, the primary way to compete is on the basis of

price. The avoidance of price-based competition is the primary motivation for forming a cartel.

Thus, cartels are more likely when the participants sell interchangeable products. Where products

like Frozen Potato Products are interchangeable, economics suggest that cartel behavior is

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facilitated because, among other things, cartel members can more easily monitor and detect

defections from a price-fixing agreement.

               6.      Opportunities to Conspire

       97.     Opportunities for collusion facilitate price-fixing by providing cartelists with

otherwise legitimate-appearing opportunities to discuss prices and production. Communications

among competitors can therefore provide circumstantial evidence of price-fixing. As described

below, the Frozen Potato Products industry features both co-packing arrangements and trade

association meetings that provided Defendants with opportunities to collude.

       98.     In so-called “co-packing” arrangements, a manufacturer outsources part of

its production to another company and then sells the products the other company has

made. Co-packing agreements give manufacturers an opportunity to discuss prices and their

production quantities with each other while discussing their arrangements.

       99.     Lamb Weston has admitted that it sources part of its production to other

companies in co-packing arrangements. It called co-packing “a common industry practice.”

Later, it stated there “are a limited number of competent, high-quality co-packers in the

industry,” and having to make alternative arrangements might be unsatisfactory and could

affect their ability to “implement our business plan or meet industry demand.”

       100.    Defendants also share membership in multiple trade organizations in this

industry. For example, McCain, Lamb Weston, and J.R. Simplot are all members of the

Potato Association of America. The “paramount objective” of the Potato Association of

America is the “collection and dissemination of the best available technical and practical

information relating to all aspects of potato production, biology, and utilization.” The Potato

Association of America “serves as the official professional society for those involved in


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potato research, extension, production, and utilization.” The Potato Association of America

hosts a multi-day meeting each year of industry participants, including Defendants. For

example, the Association held its 2022 meeting from July 17 to 22, 2022, in Missoula,

Montana, its 2023 annual meeting from July 23 to 27, 2023 in Charlottetown, Prince Edward

Island, and its 2024 meeting in Portland, Oregon. The 2025 meeting is scheduled for July 27

to 31, 2025, in Madison, Wisconsin.

       101.    Lamb Weston, McCain, J.R. Simplot, and Cavendish Farms are also all

members of the National Potato Council. The National Potato Council “is the voice of U.S.

potato growers and industry members” in Washington DC. The National Potato Council

advances and protects potato growers’ interests in Washington, D.C. “by addressing issues

that affect the potato industry, from policy issues debated in Congress to regulatory issues

proposed by federal agencies.”

       102.    The National Potato Council held its Potato Expo 2021 from January 5, 2021

to January 7, 2021 as a virtual event. The Council described its event, saying “[e]ach year,

the Potato Expo brings together growers, suppliers and industry experts to make the largest

conference and trade show for the potato industry.”

       103.    In addition, three of the Defendants have executives on the board of directors

of the Potato Sustainability Alliance. As of August 27, 2024, those board members were

Richard Burres (Lamb Weston), Spencer Kerbela’s-Pittman (McCain Foods), and John

MacQuarrie (Cavendish Farms). As of November 4, 2024, Richard Burris (Lamb Weston),

Audrey Leduc (McCain Foods), John MacQuarrie (Cavendish Farms), and Jolyn Rasmusen

(J.R. Simplot) sit on that board of directors.

       104.    The industry’s common co-packing arrangements and the above contact at

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industry trade events gave Defendants opportunities to meet and conspire about their prices

for and production of Frozen Potato Products. In addition, it follows from these contacts that

Defendants’ executives were aware of where their co-conspirators bought and sold their

Frozen Potato Products.

       105.    Defendants’ executives also sit on the board of directors of the American

Frozen Food Institute (AFFI). AFFI’s 2024 board of directors includes Tina Almond

(McCain Foods USA), Michelle Damon (J.R. Simplot Foods), Peter D. Johnston (Cavendish

Farms Corporation), and Jennifer Weekes (Lamb Weston).

       106.    AFFI’s web site describes its “AFFI-CON” event as the “premier frozen

ingredients show that brings together over 500 companies and 1,500+ attendees in a single

location, allowing them to meet one-on-one to discuss current and future business

opportunities. The average attendee will have 40+ private business meetings that will lay the

foundation for their year.” The next meeting is scheduled for February 22 to 25, 2025, at the

Hyatt Regency Dallas, in Dallas Texas.

       107.    In addition, all Defendants participate in PotatoTrac, an industry service run

through NPD Group, Inc., now known as Circana (“NPD”), a corporation which “provides

market information, tracking, analytic, and advisory services to help clients in making better

business decisions.” Defendants either sell or supply NPD Group, Inc. with their company-

specific ship data. PotatoTrac/NPD then sends the Defendants one another’s market share

information so that each knows where they and their competitors “sit” within the industry.

Potato Trac’s commercial clients are limited to the four defendants. On information and

belief, PotatoTrac also includes company projections. Each of the Defendants willingly

share its commercial data and information with PotatoTrac/NPD, knowing that the only


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other commercial industry participants are its major Frozen Potato Products competitors.

By knowing and monitoring each other’s “share” information, Defendants are

disincentivized to compete on price or for market share. Instead, they can keep Frozen

Potato Prices artificially high and monitor their conspiracy.

       D.      The Conspiracy and Overt Acts in Furtherance Proximately Caused
               Plaintiffs and Members of the End Payer Class to Suffer Antitrust Injury
               and Damages

       108.    Because of the Defendants’ anticompetitive conduct: (1) competition in the

Frozen Potato Products market has been reduced or eliminated, (2) prices for Frozen Potato

Products have been maintained at supracompetitive levels, and (3) United States purchasers of

Frozen Potato Products have been deprived of the benefit of price competition.

       109.    As a result of the Defendants’ anticompetitive conduct, Plaintiffs and End Payer

Class members paid more for Frozen Potato Products than they otherwise would have and thus

suffered antitrust injury and damages.

V.     CLASS ACTION ALLEGATIONS

       110.    Plaintiffs bring this action on behalf of themselves and, under Rules 23(a) and (b)

of the Federal Rules of Civil Procedure, on behalf of the following End Payer Class, defined as:

       All persons and entities that purchased Frozen Potato Products indirectly from a
       Defendant for end use and not for resale in the United States during the Class
       Period.

       111.    “End Payer Class” as defined herein, includes a Multistate End Payer Repealer

Subclass and a Multistate End Payer Restitution Subclass, respectively, as follows:

       All persons and entities that purchased Frozen Potato Products indirectly from a
       Defendant for end use and not for resale in or while residing in a Repealer State
       during the Class Period.

       All persons or entities that purchased Frozen Potato Products indirectly from a
       Defendant for end use and not for resale in or while residing in a Restitution State
       during the Class Period.

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       112.    As used herein, Repealer State means any or all of the following: Alabama,

Alaska, Arizona, Arkansas, California, Colorado, Connecticut, Florida, Hawaii, Illinois, Iowa,

Kansas, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,

Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York, North

Carolina, North Dakota, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah,

Vermont, Virginia, West Virginia, Wisconsin, and Wyoming.

       113.    As used herein, Restitution State means any or all States in the United States, or

the District of Columbia, but excluding Indiana and Ohio.

       114.    As used herein, Class Period means the period from at least as early as January 1,

2021, through the date by which the anticompetitive effects of Defendants’ violations of law

shall have ceased, but in any case no earlier than the present.

       115.    Excluded from the End Payer Class are Defendants and each of their respective

officers, directors, management, employees, subsidiaries, and affiliates. Also excluded is the

Judge presiding over this action, his or her law clerks, spouse, and any person within the third

degree of relationship living in the Judge’s household and the spouse of such a person.

       116.    Members of the End Payer Class are so numerous and geographically dispersed

that joinder is impracticable. Further, members of the End Payer Class are readily identifiable

from information and records in the possession of Defendants.

       117.    Plaintiffs’ claims are typical of the claims of the members of the End Payer Class.

Plaintiffs and members of the End Payer Class were damaged by the same conspiracy and acts in

furtherance thereof by Defendants.

       118.    Plaintiffs will fairly and adequately protect and represent the interests of members

of the End Payer Class. The interests of Plaintiffs are coincident with, and not antagonistic to,



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those of members of the End Payer Class.

       119.    All members of the End Payer Class are indirect purchaser end users. Each End

Payer Class member purchased Frozen Potato Products; and no End Payer class member re-sold

Frozen Potato Products. As end users of Frozen Potato Products, the price fixing overcharge on

Frozen Potato Products stopped with them.

       120.    Plaintiffs are represented by counsel with substantial experience and success in

the prosecution and leadership of antitrust class actions and other complex litigation, including

class actions involving agricultural food staple products and other commodities, indirect

purchaser cases, and consumer protection litigation.

       121.    Questions of law and fact common to the members of the End Payer Class

predominate over questions that may affect only individual members of the End Payer Class,

thereby making damages with respect to members of the End Payer Class as a whole appropriate.

       122.    Questions of law and fact common to members of the End Payer Class include,

but are not limited to:

                  Whether Defendants engaged in a combination or conspiracy among

                   themselves to fix, raise, maintain, or stabilize the prices of Frozen Potato

                   Products in the United States;

                  Whether Defendants agreed to unreasonably restrain trade in violation of

                   federal and or state antitrust or consumer protection laws;

                  The scope and duration of the alleged conspiracy;

                  The effect of the alleged conspiracy on the price of Frozen Potato Products

                   during the Class Period;

                  The type of injury suffered by Plaintiffs and members of the End Payer Class;


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                    The extent to which Defendants were unjustly enriched;

                    Aggregate damages suffered by Plaintiffs and members of the End Payer

                     Class; and

                    Whether Defendants acted or refused to act on grounds generally applicable to

                     members of the End Payer Class, thereby making appropriate final injunctive

                     relief or corresponding declaratory relief with respect to members of the End

                     Payer Class as a whole.

          123.   Class action treatment is a superior method for the fair and efficient adjudication

of the controversy. Such treatment will permit a large number of similarly situated persons to

prosecute their common claims in a single forum simultaneously, efficiently and without the

unnecessary duplication of evidence, effort, or expense that numerous individual actions would

require.

          124.   The benefits of proceeding through the class mechanism, including providing

injured persons or entities a method for obtaining redress on claims that could not practicably be

pursued individually, substantially outweigh potential difficulties in management of this class

action.

          125.   Plaintiffs know of no special difficulty to be encountered in the maintenance of

this action that would preclude its maintenance as a class action.

          126.   Plaintiffs have defined the Class based on currently available information and

hereby reserve the right to amend the definition of the Class, including any Subclass.

VI.       CLAIMS FOR RELIEF

                                            COUNT I:
                                          PRICE FIXING

                              Section 1 of the Sherman Antitrust Act
                                            15 U.S.C. § 1

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       127.    Plaintiffs incorporate by reference and re-allege paragraphs 1-126, above, as

though fully set forth herein.

       128.    Defendants formed an unlawful contract, combination, or conspiracy in

unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, to

raise, fix, maintain, or stabilize prices of Frozen Potato Products.

       129.    Since at least 2021, Defendants conspired with each other to raise, fix, maintain,

or stabilize the prices of Frozen Potato Products. The agreement was intended to and did have

the purpose and effect of unreasonably restrain trade, suppressing competition, raising, fixing,

maintaining, or stabilizing prices of Frozen Potato Products in the United States.

       130.    This conduct is unlawful under the per se standard. Defendants’ conduct is also

unlawful under either a “quick look” or rule of reason analysis because the agreement is facially

anticompetitive with no valid procompetitive justifications. Moreover, even if there were valid

procompetitive justifications, such justifications could have been reasonably achieved by less

restrictive means.

       131.    Plaintiffs and members of the End Payer Class have been injured in their business

and property by reason of Defendants’ violation of Section 1 of the Sherman Act, within the

meaning of Section 4 of the Clayton Antitrust Act, 15 U.S.C. §15.

       132.    Plaintiffs and members of the End Payer Class are threatened with future injury to

their business and property by reason of Defendants’ continuing violation of Section 1 of the

Sherman Act, within the meaning of Section 16 of the Clayton Antitrust Act, 15 U.S.C. §26.

                                        COUNT II:
                                  STATE ANTITRUST LAWS

       133.    Plaintiffs incorporate by reference and re-alleges paragraphs 1-126, above, as

though fully set forth herein.

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       134.    By reason of the foregoing, Defendants have violated, and members of the

Multistate End Payer Repealer Subclass are entitled to relief under:

                   i. Alabama, Ala. Code. § 6-5-60, et seq.

                  ii. Arizona, Ariz. Rev. Stat. § 44-1401, et seq.

                  iii. Arkansas, Ark. Code. Ann. § 4-75-211, et seq.

                  iv. California, Cal. Bus. & Prof. Code § 16700, et seq.

                  v. Colorado, Colo. Rev. Stat. §§ 6-4-101, et seq.

                  vi. Connecticut, Conn. Gen. Stat. § 35-24, et seq.

                 vii. Georgia, Ga. Code. § 16-10-22, et seq.

                viii. Hawaii, Hawaii Rev. Stat. § 480-1, et seq.

                  ix. Illinois, Illinois Comp. Statutes § 740, Ill. Comp. Stat. 1011, et seq.

                  x. Iowa, Iowa Code § 553.1, et seq.

                  xi. Kansas, Kan. Stat. Ann. § 50-101, et seq.

                 xii. Maine, Maine Rev. Stat. tit. 10, § 1101, et seq.

                xiii. Maryland, Md. Code, Comm. Law § 11-201, et seq.

                xiv. Michigan, MCL § 445.773, et seq.

                 xv. Minnesota, Minn. Stat. § 325D.49, et seq.

                xvi. Mississippi, Miss. Code Ann. § 75-21-1, et seq.

                xvii. Nebraska, Neb. Rev. Stat. § 59-801, et seq.

               xviii. Nevada, Nev. Rev. Stat. § 598A.010, et seq.

                xix. New Hampshire, N.H. Rev. Stat. Ann. tit. XXXI, § 356:1, et seq.

                 xx. New Jersey, N.J. Stat. Ann. § 56:9-11, et seq.

                xxi. New Mexico, N.M. Stat. Ann. § 57-1-1, et seq.



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                xxii. New York, N.Y. Gen. Bus. Law § 340, et seq.

                xxiii. North Carolina, N.C. Gen. Stat. § 75-1, et seq.

                xxiv. North Dakota, N.D. Cen. Code § 51-08.1-01, et seq.

                 xxv. Oregon, Or. Rev. Stat. § 646.705, et seq.

                xxvi. Rhode Island, R.I. Sat. § 6-36-1, et seq.

               xxvii. South Carolina, S.C. Code Ann. § 39-3-10, et seq.

              xxviii. South Dakota, S.D. Cod. Laws § 37-1-3.1, et seq.

                xxix. Tennessee, Tenn. Code Ann. § 47-25-101, et seq.

                 xxx. Utah, Utah Code. Ann. § 76-10-3101, et seq.

                xxxi. Vermont, 9 V.S.A. § 2453a(a), et seq.

               xxxii. West Virginia, W.V. Code § 47-18-1, et seq.

              xxxiii. Wisconsin, Wisc. Stat. § 133.01, et seq.

              xxxiv. Wyoming, Wyo. Stat. Ann. § 40-4-101, et seq.

                                    COUNT III:
                         STATE CONSUMER PROTECTION LAWS

       135.    Plaintiffs incorporate by reference and re-allege paragraphs 1-126, above, as

though fully set forth herein.

       136.    By reason of the foregoing, Defendants have violated, and members of the

Multistate End Payer Repealer Subclass are entitled to relief under:

                    i. Alaska, Alaska Stat. § 45.50.531, et seq.

                   ii. Arizona, Ariz. Rev. Stat. §§ 44-1521, et seq.

                  iii. Arkansas, Ark. Code §§ 4-88-101, et seq.

                  iv. California, California Bus & Prof. Code §§ 17200, et seq.

                   v. Connecticut, Conn. Gen. Stat. § 42-110, et seq.


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                  vi. Florida, Fla. Stat. § 501.201, et seq.

                  vii. Hawaii, Hawaii Rev. Stat. § 480-2, et seq.

                 viii. Kansas, Kan. Stat. Ann. § 50-623, et seq.

                  ix. Massachusetts, Mass. Gen. Laws, chapter 93A § 1, et seq.

                   x. Michigan, Mich. Comp. Laws § 445.901, et seq.

                  xi. Minnesota, Minn. Stat. § 325F.69, et seq.

                  xii. Mississippi, Miss. Code § 75-24-1, et seq.

                 xiii. Missouri, Mo. Rev. Stat. § 407.020, et seq.

                 xiv. Montana, Mont. Code, §§ 30-14-101, et seq.

                  xv. Nebraska, Neb. Rev. Stat. §§ 59-1601, et seq.

                 xvi. Nevada, Nev. Rev. Stat. §§ 598.0903, et seq.

                xvii. New Hampshire, N.H. Rev. Stat. §§ 358-A:1, et seq.

                xviii. New Jersey, N.J. Stat. § 56-8-1, et seq.

                 xix. New Mexico, N.M. Stat. Ann. §§ 57-12-1, et seq.

                  xx. New York, N.Y. Gen. Bus. Law § 349, et seq.

                 xxi. North Carolina, N.C. Gen. Stat. §§ 75-1.1, et seq.

                xxii. Rhode Island, R.I. Gen. Laws §§ 6-13.1-1, et seq.

                xxiii. South Carolina, S.C. Code Ann., §§ 39-5-10, et seq.

                xxiv. Vermont, 9 V.S.A. § 2453a, et seq.

                 xxv. Virginia, Va. Code Ann. § 59.1-196, et seq.

                                       COUNT IV:
                                   UNJUST ENRICHMENT

       137.    Plaintiffs incorporate by reference and re-allege paragraphs 1-126, above, as

though fully set forth herein.


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         138.   Defendants financially benefited from their unlawful acts at the expense of

Plaintiffs and members of the Multistate End Payer Restitution Subclass, who paid

supracompetitive prices for Frozen Potato Products during the Class Period.

         139.   It is unjust and inequitable for Defendants to have enriched themselves in this

manner at the expense of Plaintiffs and members of the Multistate End Payer Restitution

Subclass, and the circumstances are such that equity and good conscience require Defendants to

make restitution to Plaintiffs and members of the Multistate End Payer Restitution Subclass.

         140.   Defendants should be made to disgorge their ill-gotten gains into a constructive

trust created for the benefit of Plaintiffs and members of the Multistate End Payer Restitution

Subclass, from which Plaintiffs and class members may obtain restitution.

         141.   By reason of the foregoing, Plaintiffs and members of the Multistate End Payer

Restitution Subclass are entitled to relief under the common law of all States and the District of

Columbia, other than the States of Indiana and Ohio.

VII.     REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs respectfully requests that the Court:

         A.     Order that this action may be maintained as a class action pursuant to Rules 23(a)

& (b) of the Federal Rules of Civil Procedure, that Plaintiffs be named End Payer Class

Representative, that the undersigned be named Co-Lead End Payer Class Counsel, and that

reasonable notice of this action, as provided by Rule 23(c)(2), be given to members of the End

Payer Class;

         B.     Adjudge that Defendants violated federal antitrust laws, as set forth above;

         C.     Adjudge that Defendants violated State antitrust and trade regulation laws, as set

forth above;



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        D.      Award Plaintiffs and members of the End Payer Class actual, treble, punitive, and

exemplary damages; attorneys’ fees and costs of suit, including costs of consulting and testifying

experts; and pre- and post-judgment interest;

        E.      Order disgorgement and restitution;

        F.      Enjoin Defendants from their continuing violations of federal and state law;

        G.      Grant prospective injunctive relief, including structural relief, to prevent and

restrain any future violations of law; and

        H.      Grant such other, further, and different relief as may be just and proper.

VIII. DEMAND FOR JURY TRIAL

        Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a Trial by

Jury as to all issues so triable.

Dated: February 24, 2025




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